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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:06CR376
                                                  )
NICOLE BITTNER,                                   )                  ORDER
                                                  )
                       Defendant.                 )


        Before the court is defendant’s Unopposed Motion to Continue Change of Plea Hearing
[99] previously scheduled for April 5, 2007. Good cause being shown, the motion will be
granted and the previously scheduled Change of Plea hearing will be continued.

         IT IS ORDERED:

         1.     That the Unopposed Motion to Continue Change of Plea Hearing [99] is granted;
                and

         2.     That the Change of Plea hearing is continued to April 18, 2007 at 3:00 p.m.
                before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor,
                Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

        For this defendant, the time between April 5, 2007 and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See
18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 10th day of April, 2007.

                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
